JUDGL`"- F@M@Vl.la-cv-oela€-NSR D@gun£b%t'§m%iled 07/09/18 Page 1 012

JS MCISDNY clvu. covER sHEElM§ § ; § a § l 8 6
REV. 06!011'17
TmJMWlmrsmetammekiomaimooniainedmmnemmrmphoa then ' of
otherpapetsasrequiredby|aw,maptaspuwdedbylomlmbsofoourl vamgovedw&mJudeonmnwd&n
UnihedStaws inSep|BrrboHQ?d-, ismqukedforuseofhecbrkofcoudbr&nmoseofid§ainghduidodmtmed.
PLA|NT|FFS DEFENDANTS
Miohae| Deem Loma DiMel|a-Deem, Roberl J. Fi|ewich, PhD, Angellna Young, Rol|in

Aureiien, Robin D. Carton, Esq., Failh G. Mi|ler, Esq., Angela DiMe|la, .Jane
Doe and Hon. Adene Go¢don-Oliver. F.J.C.

ATTORNEYS {FlRM NAN|E, ADDRESS, AND TELEPHONE NUMBER A`lTORNEYS {lF KNOWN)
Michael Deem, Pro Se

26 Keystone Road. ‘ronkers, NY 10710

914-482-386?'

CAUSE OF ACTION (ClTE THE U.S. C|VIL STATU'TE UNDER WHICH YOU ARE F||JNG AND WRITE A BRIEF STATEMENT OF CAUSB
{DO NOT CJTE JURISD|CT]ONAL STATUTES UNLESS DNERSIT¥}

Civil Rights, sec 1983; Malioious prosecution and abuse of process based on fabricated evidence

_ _ _ _ _ _ _ Judge Prevlous[y Assigned

Hae th\s amon, case. or pmoeedmg, or one essenhally the same been pronoust filed m SDNY at anytlme? Nol¥es|:|

tfyes,wasmismse Vol.[:]|nvo|. |____| Dismissed. No|:l Yes|:] lfyes,givedate &CaseNo.

lswlsmlurmnmmm'mlcasa No El ‘fes l:l

(PLACE AN 1111 1111 oNE Box oNLY) NATURE OF SU|T

mms ms unum sum
column mem lmumr reason mr FoFc-'Esrumw enumqu oman s'mru'ree
l l W limme 315 FALsE owns

1 1110 INeJRANcE 1 1310 NRFLANE P"“RMACEU'"CAL PERSONAL 1 1025 oRuG RElA‘rEo [ 1422 APPEAL [ l

1 1 120 mms 1 1315 ma_PLANE PRoouc'r INNRYPRODUGT LMB|UTV SEWRE OF PROPERTY 23 usc 1513 l 1343 QU' TAM

11130 1111.1_12111101 Lmalu'rv 113551>ER50NAL1111.41R¥ muecm 11423\nnTHoRAmL 114005'rA1'E

1 1140 NEoo'rmaLE 1 1320 ASSAuL~r.. LIeELa PRooucr Lmeler~r [ mo U.HER 23 usc 151r REAPPQRmNMENT
1113':11111.1£1~11 sunnen 1 1303 neeEsTos PEReomL - 1 14101\mn'11us1'

1 1150 REcovERY 01= 1 1330 FEoEFw. m.auFe~r monuc'r 1 1430 BANKS 3 emma
ovERPA‘mEr~rr 3 EuF-Lovens' umluT~r monaer mims 1 1430 coMMERcE
ENFoRcEMENT mem 1 1400 oEPoRTAnoN
oF JquMEN'r 1 1340 mms pensoml. mm 1 1320 cowmmns 1 1470 mchrEEz lNFLu-

1 1151 MEmcms Ac'r 1 1345 mine PRoouoT _ 1 1330 szm EN¢E_D 3 connup~r

1 1 152 necovERY 01= unele 310 owen mun uncommon Ac'r
oEF.aul:rEo 1 1350 mma vEchLE f }3?1 TRUTH lN LENDiNG l 1835 P" ' E]'" “BH'E“'“TE° NEWDR"'G ’°‘PP"'°‘“'°" 1111001
STuDEnT Lomls 1 1355 mToR vEchLE l 1840 TRADEMARK 1 1450 coNSuMER cR_EDl'r
1ExcL vErERANs; mooucr unaer am seoum\r 1 1490 cass.E.emsLuTEw

11133 REcovERYoF 1130001~1151¢1=91501440 _
ovERPAYMENT muuRY 1 1330 oTHER PERSONN. moon 1 1301 111411:105111 1 1050 secmmeer
ClF VT:`|'UAN'S [ 1382 PERSONAL |NJURY - PROPERTY DAMAGE [ ]882 BLA.CK LUNG {923} COMMODIT|ES¢"
BENEHTS MEo mLPm.cncE 1 1335 moPEm' mae 1 1110 ma moon 1 1333 olv\.uolww(dos(on ExcHANGE

1 1130 mocKHoLoERs pnooucT Lmoll_rn' smuomos AcT 1 1504 sslo Tm.E x\n
SulTS [ 1120 LABORMGMT 1 1335 Rs¢ 1405(1;11

11190 o‘n-¢ER Pmsoumpsn'nou manuals 113000'rHER 3141-umw
comm 1 1433 AL|EN DErAlNEE 1 1740 RNLWAY msoR ncr 40110113

1 1195 1 1510 MoTIoNs 'ro [ 1 151 FAM"_Y mom Fenemu. TAx sons 1 1001 nonlcuLTuRAL AoTs
PRooucT mae unoen sTA'ruTes vA<_:m-E sENTENcE ,_EA\,.E m [FM,_A}

Lmeu.m zaueczzss 11370'14><5511.1.31 umw

1 1103 mmcHlsE om_ mon-rs 1 1530 HAHEAS ooRPus 1 1100 011-ssn moon 1 1003 ENwRoNMEN'rAL
l 1535 BEATH PEme miramon 1 1 311 les-mma P.~RTY 1131-1503
[]MomNnAmS&OTHER 11151EMPLRE'1'1NC musc?eoa [JaesFREEDOMoF

bd “° MR'G"TS secuRrrv ncr 15121341 ml=onam‘lon AcT
REAL mome [ ]m mug mm 1 1 305 mermmon
1 1210 own l 442 mmomsm masons-n ol\m. mears [ ]P§S:::£E'EH:EWEW on
_ coNDEMNAmN 445 HQU~S|NG-' 1 1 432 NATuRAleAnoN N,PEAL oF MC¥ DEC|SlON

1 1220 FoREcl.oeLmE l 1445 ::MDAHONS 1 1550 crvu_ RlGH'rs +Wg:mou

11230 RENTLEASE& W"H 11555PR|30NcoNom011 114050 11 1 950
EJEMT DlSI\BJLlTIES - [ 1560 CN'$L D‘EI'AENEE mails E?»`}'ATEMWJW oF

1 1240 rome 10 Lmo EMPLOYMENT ooNomoNs oF come

l 1245 mm pRODuC-r 1 1440 AM.=_Rlcms 1111'11-:

Wuw olsAernEs o'rHER

[ 1 290 ALL oTl-\ER l 1448 EDUCA""ON

REAL PRoP=Em~r
Chedr if demanded in mmbm' t

DO YOU CLA|M THIS CASE lS RELATED TO A CN|L CASE NOW PEND|NG lN S.D.N.Y.
AS DEFINED BY LOCAL RULE FOR DMSIC)N OF BUSINESS 13?

lF SO, STATE:
JUDGE

 

CHECK lF TH|S |S ACLASS ACTION
UNDER F.R.C.P. 23

DF.MAND $110°0

cheek YEsm:yirmmedmmme:m
JURY DEMAND: YFSz q~l}?‘, .-! f § if i- i 1111 No‘rE: You 111031 also submit 01 the nme orming me elevement of Relatedness 1011111Fom1 111-321

LH@'F% 0\9\13\T’I

 

 

 

oTHER l"iundi,°f\ DocKET NuMeER

 

.» 4\`~ -'.:

.C_.ase J:?&c\;-OSWG-N§R roument 2 Filed 07/09/18 Page 2 of 2

.
141

1pmcEA~ x 1111'0~1_=50><0~119 omGlN:
[YJ 1 Oriomal' named surnamed 4 m Tmnsenaom 1\1\14501511151 Appemm 015111'51
Proosoding mzsmacu.nm E3trun . m §oopenedor ms{spociwnisuioo |_.:|Bl-Ilioahm l:l?-Iudoem
mdma _ _ _ masme umaudga
|:| a_ 511de gm
f [:|8!140150151551' Lm'gaiion {oirect Fie)
121 b. At|oastonoputy
imm l '

(PLACEAN X m ONE_BOX ONLYJ ' ' . BASIS DF JURISD|CT|ON I'F DfVERSI'P/, INDI'CATE

|:l1 u.s. PLAn~mFF |:12 u.s oEFENoANT |X| 3 FEDERALQuEsTloN |`_`14 omiser CHTZENSH!P BELOW.
1u.s. NoTA PARTY) ' . .

C|TiZENS|-i|P OF PR|NC|PAL PART|ES (FOR D|VERS|TY GASES 'ONL‘()
(Plaoe an [Xl in one boxfor PlainfriTand one boxforDefendant)

PTF oEF P11= oEF _ ` PTF oEF

cszN oFTHcssTA'rE 111 111 cszN oRsus.JEcToFA 113113 _ mooRPoRATEomd PRmch»ALPLAcE 115 115
FoRElGN couNTRY oF eusm\=_ss 111 mon-isn s‘rATE

cmzeu oF monies sTATE 1 12 1 12 mooRPoRATEo or PRlNcaPAL Pl_AcE 1 141 14 FoRElGN moon 1 15 1 1 5

OF BUS|NESS lN THlS STATE

PLA:NT:FF(s) AooREss(Es} ANo counTY{lEs) _
26 Keystone Road, ¥0nkers, NY 10710 - Westchester Cou nty

oEFENDANT(s) ADDRESS(ES) AND counTY(lEs) _

Loma DiMella-Deem, 83 Hawthom P|aoe, Briarcliff Manor,- N¥-Westchester; Robert J. Fi|ewich, PhDl
222 Westchester Ave., Ste 406, White Plains, N¥-Westchester; Ange|ina Young, 10 Counly Center Rd,
2d F|, White P|ains, NY-Westchester; Ro||in Aure|ien, 50 Sanitarium Rd., Bldg C, Pomona, .
NY-Rock|and; Robin D. Carton, Esq., 150 Grand Street, Ste 305, White Plains, NY'-Westchester; F'aith
G. Mi|ler, Esq.. 150 Grand St., 5th Fl, White P|ains, NY~Westmester; Ange|a DiMel|a, 5.Fowier Ct,.

tall ona-ar ¢ I l-¢¢-» alan l

DEFENDANT(S) ADDRESS UNKNO\W

REPRESENTAT!ON lS HEREBY M.N`JE THAT, AT TH|S TlME, | HAVE BEEN UNABLE, WlTH REASONABLE DlLlGENCE, TO ASCERTNN
THE RES|DEN'CE ADDRESSES OF THE FOLLOW}NG DEFENDANTS:

Jane Doe

COURTHOUSE ASS|GNME|'IT
l hereby certify that this case should be assigned to the courthouse indicated below pursuant to Looal Ruie for Division of Business 18, 20 or 21.

check one Tl-us Ac'rloN sHouLo sgAsslGNEo To: 121 WH|TE PLA|NS |:| MANHA“|TAN

 

DAT'E' S|GNATURE OF A.l_l.ORNE¥ op RECORD ml`lO"l"ED TO PRAC'!'|CE_|N THIS DlST'RiCT
[ ] YES (DATE ADMlTl'ED Mo. Yl'. }
RECE|PT# NIDmEy Bar Code #

Magistrate J'udge is to be designated by the Cierk of the Coult

MAG. JUDGE DAVISON
Magistrate Judge is 80 Designated.

M_

Ruby .1. 1<151151<, clerk of court by g ;L.v_ff 12 oequ clerk, oATEo
uNlTEo sTATEs DlsTRlcT couRT (NEW ¥om< souTHERN) ' 'F ’ ',

"

   

ClearForm Save ' Pnnt

